                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 ASHEVILLE DIVISION

                                 CRIMINAL NO. 1:04CR80-6


UNITED STATES OF AMERICA                     )
                                             )
                                             )
               VS.                           )               ORDER
                                             )
                                             )
JOSHUA ROPER FIELDS                          )
                                             )


        THIS MATTER is before the Court on the parties’ plea agreement, filed October 15,

2004.

        IT IS, THEREFORE, ORDERED that defense counsel review the attached waiver with

the Defendant, obtain the Defendant's signature witnessed by defense counsel or notarized, and

file the waiver with the Clerk no later than 24 hours prior to the sentencing hearing scheduled for

Thursday, June 2, 2005.

        The Clerk of Court shall send a copy of this Order and attached waiver to the United

States Attorney.




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                        Signed: May 6, 2005




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